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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                      Case No. 1:08-cr-47
v.
                                                      HONORABLE PAUL L. MALONEY
MARIE JEANETTE MASON,

                  Defendant.
_________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Ellen S. Carmody in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (Dkt. #106) is approved

and adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Counts 1, 2, and 4 of the Indictment.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.


Date: September 26, 2008                               /s/ Paul L. Maloney
                                                      Paul L. Maloney
                                                      Chief United States District Judge
